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                 EXHIBIT A
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  Failure Analysis of Chart MVE 808AF-GB Cryopreservation Tank
                    Serial Number CAB2112020013


                Pacific Fertility Center Litigation

                  United States District Court
                 Northern District of California
                    San Francisco Division

                  Case No. 3:18-cv-01586-JSC

            Date of Incident: Sunday, March 4, 2018

          Location of Incident: Pacific Fertility Center
    55 Francisco Street, Suite 500, San Francisco, California 94133




                                                       Report prepared by:
                                               Anand David Kasbekar, Ph.D.
                                                              File No. 1780
                                                          November 6, 2020
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Background

    In January of 2012 the subject Chart Inc. model MVE 808AF-GB Cryopreservation Tank
(Serial Number CAB2112020013) was purchased by Pacific Fertility Center (PFC) in San
Francisco, CA through Praxair, Inc., a Chart distributor (see Figure 1).1 The PFC laboratory is
operated by Prelude Fertility, Inc. and its subsidiary Pacific MSO LLC. Prelude runs a network
of fertility clinics and embryo and egg storage facilities throughout the United States. The
subject tank known as “Tank #4” had been placed in service on March 6, 2012,2 and according to
Chart, the tank had an expected service life of 10 years.3,4 Tank #4 was being used to store
vitrified eggs and embryos from 608 IVF clients.5




    Figure 1:

     On Sunday March 4, 2018 at approximately 12:30 p.m., laboratory staff at PFC discovered
that the liquid nitrogen (LN2) refrigerant level in the subject Chart Cryopreservation Tank had
been below a safe level for an undetermined period.6 Lab Director Dr. Conaghan had turned on
the autofill for Tank #4 via its electronic controller and then attempted to remove the tank lid

1
  MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001986; 2019-09-10
Deposition of Alden Romney 94:17-95:9.
2
  MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001986.
3
  CHART001432 (Intended Use Characteristics).
4
  2020-01-14 Deposition of Justin Junnier 45:18-25
5
  MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001987.
6
  2019-09-10 Deposition of Alden Romney 105:14-106:11; 2019-10-09 Deposition of Joseph Conaghan 40:15-25.
                                                                                                            1
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within two minutes of doing so in order to measure the level of liquid nitrogen in the tank.7 Dr.
Conaghan “had difficulty removing the tank from the lid” but another embryologist present, Jean
Popwell, was able to remove it within one minute of his attempt “with some extra muscle.”8 Dr.
Conaghan described the lid as jammed.9 He looked for ice build-up around the lid that might
explain the difficulty removing it but found none, and he thinks something other than ice caused
the difficulty.10 Dr. Conaghan does not recall seeing condensation on Tank #4 at the time but
noted “there was a little water on the floor” under and around the tank.11 Dr. Conaghan is not
aware of any means for water to have been present on the floor other than via condensation and
has stated that there could have been condensation on the tank in a place that he did not see, such
as on the bottom.12 Testimony provided by clinic staff indicates there was an absence of notable
moisture or frost on the exterior of the tank in the days leading up to catastrophic tank failure and
that the only indication of moisture was on March 4, 2018 which lead to the detection of the
Tank 4 issue.13,14,15,16,17,18,19,20   Following the removal of the jammed lid, the LN2 level was
found to be at most approximately 1 inch based upon the frost line location on the dipstick used
to measure the level. 21 This measurement was taken after activation of the autofiller, and
according to Dr. Conaghan, it was possible that the tank had been completely empty.22 At some
point after the tank was opened, Dr. Conaghan noticed that the metal interior wall was
“puckering,” and this deformation worsened over time, culminating in the extensive interior tank
deformation as photographically documented the next morning (see Figures 2-3).23,24,25


7
  2019-10-09 Deposition of Joseph Conaghan 43:14-15, 101:12-21.
8
  2019-10-09 Deposition of Joseph Conaghan 40:19-20; 101:22-102:1, 105:13-18.
9
  2019-10-09 Deposition of Joseph Conaghan 151:20-21.
10
   2019-10-09 Deposition of Joseph Conaghan 100:25-101:6.
11
   2019-10-09 Deposition of Joseph Conaghan 115:18-116:5.
12
   2019-10-09 Deposition of Joseph Conaghan 136:22-25; 137:18-21.
13
   2019-09-10 Deposition of Alden Romney 98:20-24, 117:7-14.
14
   2020-09-09 Deposition of Joseph Conaghan 102:7-16, 122:12-23, 211:21-213:2
15
   2019-10-09 Deposition of Joseph Conaghan 94:5-95:7, 135:12-136:9
16
   2020-08-27 Deposition of Erin Fischer 50:6-8
17
   2020-08-31 Deposition of Gina Cirimele 64:15-65:1, 66:25-67:10, 69:21-70:9, 72:6-17, 74:7-18, 117:14-23,
129:16-130:10
18
   2020-08-28 Deposition of Jennifer Andres 43:9-18, 45:8-46:6
19
   2020-09-02 Deposition of Jean Popwell 31:12-32:3, 60:1-25, 119:1-10, 121:3-12, 122:24-123:12, 128:24-129:10
20
   2020-09-29 Deposition of Hana Lamb 28:6-14
21
   2019-10-09 Deposition of Joseph Conaghan 112:6-12;. 2020-09-09 Deposition of Joseph Conghan 207:12-
208:16.
22
   2019-10-09 Deposition of Joseph Conaghan 112:13-113:8.
23
   2019-10-09 Deposition of Joseph Conaghan 114:10-20.
24
   2019-10-09 Deposition of Joseph Conaghan 117:13-23.
25
   MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001994-1997; 2019-10-09
Deposition of Joseph Conaghan 41:19-24.
                                                                                                                 2
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Embryologist Jennifer Andres also testified to seeing a buckle or outward bump in the inner wall
of the tank.26




Figure 2:




Figure 3:
                .


      As a result of the failure of the subject tank, stored eggs and embryos were more likely than
not exposed to elevated temperatures. The tank failure and resulting deformation likely delayed
recovery efforts by inhibiting removal of the tank lid. At the time of this incident PFC reports
that there were 1,500 eggs and 2,500 embryos from the 608 IVF clients stored in the subject
tank.27 At some point after the incident, the controller, which includes an auto-fill mechanism,
was removed from Tank #4. Both the tank and controller were transported from the fertility
clinic to Exponent’s Menlo Park Facility on March 8, 2018 (see Figure 4).


26
     2020-08-28 Deposition of Jennifer Andres 53:5-22.
27
     MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001986-1987.
                                                                                                      3
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Figure 4:


    The original installation of the subject tank included the previously discussed automated
controller and an integrated alarm system designed to maintain and provide 24x7 monitoring of
tank temperature and liquid nitrogen levels and alert staff by telephone in the event of a problem
(see Figure 5). PFC indicated that sensors for the monitoring system “are connected to a
telephone alarm system that will alert staff to an alarm condition outside of normal working
hours. . . .The alarm system is tested weekly and continues to run on battery power in the event
of a power failure. The alarm system can also be checked remotely.” 28 When a tank alarm goes
off, the on-call embryologist is supposed to arrive within 30 minutes regardless of time of day
and must conduct a physical inspection of the tank before the alarm can be turned off.29


                                                             and for this reason PFC chose to “mute” the
alarm and disconnect the controller from the autodialer system that would normally have alerted
the staff of a problem. 30 These automated systems were disabled on February 15, 2018,



28
   Sperm and Embryo Freezing, Pacific Fertility Center, www.pacificfertilitycenter.com/treatmentcare/sperm-and-
embryo-freezing 9-24-2019
29
   Id.
30
   MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001985-1986.
                                                                                                                  4
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approximately 17 days prior to the March 4, 2018 incident.31,32




Figure 5:


The control panel was only activated when the tank had to be filled with liquid nitrogen. As of
the date of the incident, PFC had not replaced the controller on Tank #4 and had shifted to
manual monitoring of the tank.35 Further, I understand that the controller was inspected and load
testing of the controller was completed on October 13, 2020, during which the controller
continued to malfunction as described above.




31
   MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001986.
32
   2019-10-09 Deposition of Joseph Conaghan 72:13-16.
33
   2019-10-09 Deposition of Joseph Conaghan 187:18-24.
34
   2019-10-09 Deposition of Joseph Conaghan 187:18-24 and 93:11-19
35
   2019-10-09 Deposition of Joseph Conaghan 89:22-90:4 and 93:11-19
36
   MSO024140-41
37
   MSO001314 (4/23/2018 Chart Recall Notice).
                                                                                                  5
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the potential for a sudden vacuum seal leak or failure. Chart also has a history of MVE
Controller malfunctions that date back to at least 2016, over 2 years prior to the date of the PFC
incident.38,39,40,41,,42, 43, 44




     In early April 2018, Plaintiffs’ counsel, representing individuals whose material was stored in
Tank #4, requested my assistance in evaluating the current condition of the subject Chart
Cryopreservation Tank and investigating the cause of the tank failure. This report outlines my
efforts to date along with my findings and opinions.




Materials Reviewed

     Reviewed file materials include the following:


              1. 2018-05-30 Complaint
              2. 2019-09-18 Second Amended Consolidated Class Action Complaint
              3. 2020-07-21 Third Amended Complaint
              4. 2018-09-14 &18 Protective Orders
              5. MVE Cryopreservation for Life Science Catalog – Brochure
              6. CHART 000001-000126 (Chart Tank Drawings and Specifications)
              7. CHART000058 – 60 (2012-01-24 Tank QC and Shipping)
              8. CHART000918-1050 (2010-08 Tank and TEC 3000 Manual)
              9. CHART001432 (2006-03-01 DFMECA - CRYO-RA-001 L)
              10. CHART005674-005675 (Risk Assessment)
              11. CHART008310 – CHART008320
              12. CHART008455 (Emails RE-MVE Controller Problems in Europe)
              13. CHART008490 – CHART008498

38
    CHART008455, CHART010131, CHART025664, and EXTRON-002060
39
    Defendant Chart, Inc.’s Answers to Plaintiffs’ Interrogatories (Set 7) and to Plaintiffs’ Request for Admission
(Set 5) Answers 4, 5
40
   CHART026003.
41
   CHART034331.
42
   2019-10-09 Deposition of Joseph Conaghan 72:5-12.
43
   CHART054154
44
   Defendant Chart, Inc.’s Answers to Plaintiffs Requests for Admission (Set 5) Answers 4,5,7,8,9.
                                                                                                                      6
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   14. CHART008504
   15. CHART005093 – CHART005099
   16. CHART009354 – CHART009361
   17. CHART009446 – CHART09451
   18. CHART009453
   19. CHART009455
   20. CHART009518 (Catalog ML-CRYO0009 H 13b)
   21. CHART010131 (2018-03-15 - Tech3000 Improvement Project 3_15_18)
   22. CHART016303 – CHART016536
   23. CHART025664 (No Back EMF Protection)
   24. CHART026003 (2015 Field Service Email)
   25. CHART031908 – CHART031909 (TEC 3000 Manual Event Codes User Defined
       Alarms)
   26. CHART034331 (2015 Field Service Email)
   27. CHART035767 – CHART035768
   28. CHART050770
   29. CHART054154
   30. CHART057093 – CHART057099
   31. CHART058497 – CHART058503
   32. CHART069993
   33. CHART069995
   34. CHART069999
   35. CHART070032 – CHART070034
   36. CHART070144 – CHART070147 (Chart Test Report 828 – Pumpout Port
       Blowout Testing from 2017-11-27)
   37. CHART070358 – CHART070364
   38. CHART070444
   39. CHART070503 – CHART070558
   40. Chart MVE 1839AF-GB Tank Implosion Correspondence
   41. EXTRON-002060
   42. MSO001314 (2018-04-23 Chart Recall Notice)
   43. MSO001982-2220 (2018-03-23 PFC Response to CAP Request and Exhibits 1-
       12)
   44. MSO012832 (2018-03-13 Letter from Joe Conaghan to CA Dept of Health)
   45. MSO012835 (2018-03-13 Letter from Joe Conaghan to College of American
       Pathologists)
   46. MSO021089-21250 MVE TEC 3000 Tech Manual (Rev G)
   47. MSO024140-41
   48. PRELUDE 002283-002285 (2018-03-08 Email Correspondence from Yelena
       Pasman to Suzan Hertzberg)
   49. MSO023987 (Photograph of Exemplar Tank Interior with Rack and Vials in
       Place)
   50. Christopher Brand Report Dated 2020-01-10
   51. Keith Gustafson Report Dated 2020-01-10
   52. 3D_Scan_Data Collected 2019-10-01 & Rcvd 2019-11-07
   53. Exponent Vacuum Plug Removal Documentation
   54. Exponent Keyence Images_Tank_Interior Collected 2019-10-01 & Rcvd 2019-
       11-07
                                                                             7
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   55. Exponent Photographs & Video and of Vacuum Plug 2018-03-19
   56. Exponent X-Ray of Tank 2019-11-25 Rcvd 2019-12-30
   57. Data and Images from Exponent March 2020 Inspections and Subsequent
       Metallurgical Testing
   58. 2020-0728 Anamet Laboratory Certificate
   59. 2019-10-15 Expert Reports of S. Somkuti, C. Allen, and N. Jewell
   60. Discovery Responses
          a. Chart Supplemental Answers to Plaintiffs Interrogatories Set 5 and Cryo
              Welder Equipment List
          b. Chart 2nd Supplemental Answers to Plaintiffs Interrogatories Set 5 and
              Cryo Welder Equipment List
          c. Chart Answers to Plaintiffs Interrogatories 2020-08-25 Set 6
          d. Chart Answers to Plaintiffs Interrogatories 2020-09-05 Set 7
          e. Chart Answers to Plaintiffs Requests for Admission 2020-05-27 Set 3
          f. Chart Answers to Plaintiffs Requests for Admission 2020-08-25 Set 4
          g. Chart Answers to Plaintiffs Requests for Admission 2020-09-05 Set 5
   61. Depositions
          a. 2019-08-14 Jeffrey Dresow
          b. 2019-08-21 Gregory Mueller
          c. 2019-08-21 William Pickell
          d. 2019-09-10 Pacific MSO and Alden Romney
          e. 2019-09-18 Frank Bies
          f. 2019-10-09 Pacific MSO and Joseph Conaghan
          g. 2019-12-13 Anand Kasbekar
          h. 2020-01-14 Justin Junnier
          i. 2020-01-16 Christopher Brand
          j. 2020-01-23 Jeff Brooks
          k. 2020-02-06 Keith Gustafson
          l. 2020-02-18 Ramon Gonzalez
          m. 2020-02-20 Brendon Wade
          n. 2020-02-21 Keith Gustafson
          o. 2020-08-27 Erin Fisher
          p. 2020-08-28 Jennifer Andres
          q. 2020-08-28 Katherin Buchanan
          r. 2020-08-31 Gina Cirimele
          s. 2020-09-02 Jean Popwell
          t. 2020-09-02 Jinnuo Han
          u. 2020-09-09 Pacific MSO and Joseph Conaghan
          v. 2020-09-11 Seth Adams
          w. 2020-09-29 Hana Lamb
          x. 2020-10-05 Buster Ingram
          y. 2020-10-08 Kyle Eubanks
   62. Video of 2020-10-13 Chart production facility inspection
   63. Sperm and Embryo Freezing, Pacific Fertility Center,
       www.pacificfertilitycenter.com/treatmentcare/sperm-and-embryo-freezing 9-24-
       2019
   64. ASM Handbook Volume 11 Failure Analysis and Prevention, Copyright 2002
   65. ASM Handbook Volume 12 Fractography, Copyright 1987.
                                                                                       8
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           66. Los Alamos National Labs Engineering Standards Manual ISD 341-2 Chapter 13
               Welding & Joining
           67. Journal of Failure Analysis and Prevention Volume 5(2) April 2005, ASM
               International p. 11-15
           68. A. Griebel Technical Brief: Fatigue Dimples, Journal of Failure Analysis and
               Prevention Volume 9 2009, ASM International
           69. Welding Innovation Vol. XVI, No. 2, 1999
           70. A Review of The Application of Weld Symbols on Drawings, https://www.twi-
               global.com/technical-knowledge/job-knowledge/weld-symbols
           71. Cruxweld Basic Welding Symbols Explained
           72. https://priodeep.weebly.com/uploads/6/5/4/9/65495087/welding_2.pdf
           73. www.weldingtipsandtricks.com/full-penetration-weld
           74. D. Hull, Fractography Observing, Measuring, Interpreting Fracture Surface
               Topography, Cambridge University Press, 1999
           75. ASM Metals Handbook Volume 9 8th Edition Fractography and Atlas of
               Fractographs
           76. G. Pantazopoulos, A Short Review on Fracture Mechanisms of Mechanical
               Components Operated under Industrial Process Conditions: Fractographic
               Analysis and Selected Prevention Strategies, Metals 2019, 9, 1480.
           77. ASM International Failure Analysis Committee, Handbook of Case Histories in
               Failure Analysis, Volumes 1 & 2

   In addition to reviewing the above materials, I have also had the opportunity to conduct an
inspection of the Pacific Fertility Center, the subject Tank #4, and the associated controller.
Those inspections included leak testing, non-destructive testing, destructive disassembly, CT
evaluation of critical welds, metallography, and fractography. I have also examined an unused
MVE 808 tank that was purchased new in October 2020 and have had the opportunity to
participate in a virtual inspection of Chart’s facility where the subject tank was manufactured.
That virtual inspection included viewing aspects of the manufacturing process for a different
model cryogenic tank than the subject MVE 808.




Description of Work Performed

   I conducted an inspection of Pacific Fertility Center located at 55 Francisco Street in San
Francisco, CA on September 24, 2018. That inspection consisted of visually examining,
photographing, and videotaping the laboratory area where the Chart model MVE 808AF-GB
Cryopreservation Tank had been located at the time of the incident on March 4, 2018. The
subject tank itself was no longer at PFC and was inspected at the Menlo Park offices of Exponent
on September 25, 2018. The first tank inspection was limited to visually examining and
                                                                                                   9
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photographing the tank, the tank lid, the previously removed MVE TEC 3000 controller, and the
previously disassembled vacuum port plug assembly. The interior of the tank bottom was not
accessible at the time of this inspection. The underside of the tank also could not be inspected,
and the interior tank bottom could not be examined without destructive removal of the tank’s
false bottom. Although no testing was done during that tank inspection, Defendants’ consultant,
Exponent, had previously conducted leak testing, digitization, and cleaning of the subject tank
and tank cover.




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Figure 6: A




45
     CHART000073 (False Bottom Dwg A9570)
                                                                              11
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Figure 7:




Figure 8:




                                                                           12
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Figure 9




Figure 10:




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Figure 11:




Figure 12:




                                                                           14
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Figure 13:


   A Keyence VHX 2000 Digital Microscope fixed to a boom arm was used to more closely
examine the leak area that was detected along the lower edge of the welded fill port. That
microscope along with the use of a portable handheld microscope revealed a substantial crack in
the weld of the fill port (Figures 18-20). The digital microscope was used to view the cracked
annular weld and collect magnified video which clearly and definitely showed the crack to be the
leak location as bubbles within the soap solution could be seen emanating directly from the crack
(Figures 21-22). This circumferential crack was clearly visible at about a 20X magnification
between approximately the 4 o’clock and 8 o’clock positions. In order to further check for
cracks and better evaluate the observed crack, non-destructive testing (NDT) was conducted
using Magnaflux Spotcheck liquid dye penetrant. The NDT further confirmed the presence of
the circumferential crack in the annular weld that secured the fill port fitting to the inner tank
wall (Figures 23-24). No other breaches or leaks could be identified between the tank interior
and the vacuum space




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Figure 14:




Figure 15: P




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Figure 16: C




Figure 17:




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Figure 18:




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Figure 19:




Figure 20:




                                                                           19
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46
     Defendant Chart, Inc.’s Answers to Plaintiffs Requests for Admission (Set 5) Answer 17.

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Figure 21:




Figure 22:




                                                                           23
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Figure 23:




Figure 24:


                                                                           24
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Figure 25:




Figure 26:


                                                                           25
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Figure 27:




Figure 28:




                                                                           26
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Figure 29:




                                                                           27
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Figure 30: I




Figure 31:




                                                                           28
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Figure 3




Figure 33:                          .




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Figure 34:




Figure 35: A




                                                                           30
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Figure 36: I




Figure 37:

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Figure 38:




Figure 39:


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Figure 40:




Figure 41:




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Figure 42: T




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Figure 43:
                                st




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Figure 44:




Figure 45:




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Figure 46:
                                                                                  s.




Figure 47:




Analysis and Discussion

     The specifications for the MVE 808 tank indicate an estimated full tank capacity of 230 liters
of LN2. The estimated static holding time for a full tank is 32 days with a nominal evaporation
rate of 8 liters per day.47 Nitrogen evaporation rate testing performed by Chart when the subject
tank was manufactured indicates an evaporation rate of only 6.5 liters per day.48 The subject
tank was reportedly filled on Saturday, March 3, 2018 at the end of the day, which was typically
2:00 p.m. on weekends.49 The tank failure was discovered at 12:20 p.m. on Sunday, March 4,
2018, less than 24 hours after the last fill. Based on the MVE 808 specifications and the testing
performed by Chart, less than about 8 liters of LN2 should have evaporated during this time


47
   CHART000088 (MVE 808 Spec Dwg).
48
    CHART000058.
49
   2019-09-10 Deposition of Alden Romney 103:13-18.
                                                                                                37
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period. Given a fill level of 14 inches as documented and a height to volume relationship of 10.3
inches of LN2 per inch of fill height, the level should have decreased by less than 1 inch between
the Saturday afternoon fill and the discovery of the failed tank on Sunday at 12:30 p.m.50 This
analysis also assumes that the 14-inch fill covers the tank contents by at least 1 inch.51,52 If the
tank vacuum jacket remained intact, then the LN2 evaporation should have been immaterial.
However, if a vacuum jacket breach occurred resulting in the loss of insulating ability and
allowing LN2 to enter the vacuum space, then a significant decrease in the LN2 level would occur
more rapidly than from normal evaporation.




50
   MSO001982 (20180323 PFC Response to CAP Requests and Exhibits 1-12) at MSO001984 - 1985 and
MSO002046; CHART001038.
51
   2019-10-09 Deposition of Joseph Conaghan 99:18-25.
52
   2019-10-09 Deposition of Joseph Conaghan 105:25-106:21.
                                                                                                       38
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53
     G. Pluvinage, Fracture and Fatigue Emanating from Stress Concentrators, 2003 p. 1-3, 97
54
     ASM Handbook Volume 12 Fractography p. 112.
                                                                                               40
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Figure 49:                                                                 ents.




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Figure 50: S




Figure 51:




                                                                           42
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Figure 52:




                                                                           43
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Figure 53:




Figure 54:




55
     Los Alamos National Labs Engineering Standards Manual ISD 341-2 Chapter 13 Welding & Joining
                                                                                                    44
       Case 3:18-cv-01586-JSC Document 647-3 Filed 01/08/21 Page 47 of 76




56
   ASM Handbook Volume 12 Fractography p. 112, 368.
57
   G. Pantazopoulos, A Short Review on Fracture Mechanisms of Mechanical Components Operated under
Industrial Process Conditions: Fractographic Analysis and Selected Prevention Strategies, Metals 2019, 9, 1480.
58
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59
   Journal of Failure Analysis and Prevention Volume 5(2) April 2005, ASM International p. 11-15.
60
   ASM Handbook Volume 11 Failure Analysis and Prevention, Copyright 2002, p. 578
61
   ASM Handbook Volume 12 Fractography, Copyright 1987, p. 53
62
   A. Griebel Technical Brief: Fatigue Dimples, Journal of Failure Analysis and Prevention Volume 9 2009, ASM
International p. 193-196
                                                                                                                  45
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Figure 55:




63
   ASM Handbook Volume 12 Fractography p. 111-112, 358-359.
64
   D. Hull, Fractography Observing, Measuring, Interpreting Fracture Surface Topography, Cambridge University
Press, 1999, p. 332-333.
65
   L. Engel and H. Klingele, An Atlas of Metal Damage, Prentice Hall, 1981 p. 84-85
66
   ASM Metals Handbook Volume 9 8th Edition Fractography and Atlas of Fractographs p. 455.
                                                                                                                46
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Figure 56: B




Figure 57:


                                                                           47
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Figure 58:




                                                                           48
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Figure 59:




                                                                           49
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Figure 60:




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Figure 61:




Figure 62:

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Figure 63:




Figure 64:




67
     CHART000115; CHART070444; 2020-10-08 Deposition of Kyle Eubanks 47:11-47:23
                                                                                   52
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68
   Defendant Chart, Inc.’s Answers to Plaintiffs’ Requests for Admission (Set 4) Answers 5, 9; Answers to
Plaintiffs’ Interrogatories (Set 6), Answers 1, 4.
69
   Welding Innovation Vol. XVI, No. 2, 1999
70
   2020-09-11 Deposition of Seth Adams 27:19-28:13.
71
   A Review of The Application of Weld Symbols on Drawings, https://www.twi-global.com/technical-
knowledge/job-knowledge/weld-symbols
72
   Cruxweld Basic Welding Symbols Explained
73
   www.weldingtipsandtricks.com/full-penetration-weld
                                                                                                            53
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Figure 65:




                                                                           54
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Figure 66: E




Figure 67:




Figure 68:




74
     https://priodeep.weebly.com/uploads/6/5/4/9/65495087/welding_2.pdf
                                                                               55
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Figure 69:




Figure 70:




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Figure 71:




Figure 72:




                                                                           57
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Figure 73:




Figure 74:




                                                                           58
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Summary of Findings and Opinions

     The following is a summary of my findings and opinions based upon my training, education,
and experience, along with my review of the available materials as listed above, and the multiple
inspections and analyses of the subject Chart MVE 808AF-GB Cryopreservation Tank including
metallurgical analysis and fractography of the failed annular weld that attached the fill port
elbow to the inner tank wall. The following findings and opinions may be revised or amended as
necessary should additional information become available or if additional work is performed by
either party. I reserve the right to respond to other experts’ testimony and to supplement my
report as needed. I similarly reserve the right to respond to arguments made by the Defendants
and their experts and other witnesses at trial.

     1. The subject Chart tank was purchased new in January 2012 and had been in service for
        just over 6 years at the time of failure. The tank was only about 60% of the way through
        its expected service life of 10 years. PFC’s experience is that tanks can and should last
        significantly longer than 6 years.75,76,77,78

     2. Chart knew that its MVE Cryogenic freezers, such as the subject MVE808 tank, are used
        primarily for highly sensitive biotech applications including biological storage of human
        eggs and embryos.79 The MVE Cryopreservation “For Life Science” brochure
        specifically references the storage of human cells.80 Chart training materials state
        “Cryogenic freezers are used primarily for biological storage of human tissue, cord blood,
        bone marrow, stem cell and other highly sensitive biotech and pharmaceutical
        applications.”81 Product literature for the MVE Stock Series, which includes the MVE




75
    2019-09-10 Deposition of Alden Romney 139:5-7.
76
   CHART050770
77
   2020-01-14 Deposition of Justin Junnier 45:20-23.
78
   2020-01-23 Deposition of Jeff Brooks 110:7-17.
79
   CHART054154
80
   MVE Cryopreservation for Life Science Copyright 2015
81
    CHART016303 (Chart/MVE Cryobiological Training 2016) at CHART0016315
                                                                                                    59
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            808, states these tanks are “the ultimate in security for the breeding industry and are
            primarily used to store semen and embryos.”82, 83




       3.




       4. T




82
     MVE Cryopreservation for Life Science Copyright 2015
83
     Defendant Chart, Inc.’s Answers to Plaintiffs Requests for Admission (Set 4) Answer 13.
                                                                                                      60
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     5.




     6.




     7. T




84
   CHART01432 (DFMECA)
85
   CHART008310
86
   Chart’s Responses to Plaintiffs’ 2020-09-05 Request for Admission (Set 5) Answers 14-16.
                                                                                              61
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8.




9.




10.




                                                                          62
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                                                                                                  .87

       11. This weld joint could have been made significantly more robust by incorporating a
           second weld between the vacuum space side of the inner tank wall to the mating face of
           the fill port fitting. Slight revisions of the fitting geometry to maximize contact with the
           tank wall and optimize weldability would also add to the integrity of this welded joint. A
           thicker inner tank wall also would increase the weldability and strength of the weld joint
           and could assist in ensuring that a pressure relief system activated prior to implosion of
           the inner tank wall. It is not only feasible to incorporate a second outer weld, but also
           cost effective since the additional weld would take only minutes if not seconds to
           complete. Optimization of a weld procedure for a second weld would be necessary and
           may require a slight increase in wall thickness of the inner vessel, but it is feasible to add
           such a weld and would significantly increase strength of the joint and mitigate the
           potential for the type of stress riser that led to the failure in the subject weld and result in
           a substantially safer product. The incremental cost of improving the weld to eliminate
           the previously discussed defects and/or adding a second weld would be negligible and on
           the order of a few dollars. Even if the thickness of the 20-inch-tall section of the inner
           tank wall thickness were increased by a factor of 2, the incremental cost per tank would
           be on the order of $50 or less based on current retail pricing for 304 stainless steel. This
           incremental cost would be less than 0.3% of the approximate $20,000 retail cost of the
           tank to the consumer. Optimization of design and fabrication and bulk material pricing
           would further reduce the cost differential of such improvements.




         In the event this matter continues to move forward, I may conduct additional testing,
analyses, and/or prepare physical models and/or demonstrative exhibits in response to


87
     2020-10-05 Deposition of Buster Ingram 39:1-3, 41:17-42:6
                                                                                                         63
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Defendants claims and analysis or for the purpose of further evaluating, illustrating and
explaining how the subject Chart Tank is intended to operate and the manner in which it failed.




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Qualifications

       I hold a B.S.E., M.S. and Ph.D. in Mechanical Engineering and Materials Science with a
minor in Computer Science. I have over 35 years of experience as a forensic engineer having
worked in the areas of failure analysis, materials science, product liability, accident
reconstruction, computer aided engineering, modeling, simulation, and visualization. A copy of
my curriculum vitae is attached as Appendix A.


Compensation
       My firm currently charges $445 per hour for my time plus expenses. Deposition and trial
related time is billed at $495 per hour.




____________________                                          _11/6/2020_
   Anand David Kasbekar, Ph.D.                                Date




                                                                                              65
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                                            Appendix A
                                    Kasbekar Curriculum Vitae


                              Anand David Kasbekar, Ph.D.

Education

       B.S.E.         Mechanical Engineering, Duke University 1985
       M.S.           Mechanical Engineering and Material Science, Duke University 1987
       Ph.D.          Mechanical Engineering and Material Science with a
                      Minor in Computer Science, Duke University 1994


Qualifications

       Dr. Kasbekar's area of expertise is in the field of Mechanical Engineering and Materials
       Science with an emphasis on accident investigation, failure analysis, safe product design,
       computer simulation and 3D-visualization. His graduate research concentrated on the
       development of a nondestructive materials characterization technique which can be used
       to analyze defects in both metals and polymers at sub-microscopic levels. Dr. Kasbekar's
       research was funded by the Army Research Office. As part of this research, Dr. Kasbekar
       implemented a computer controlled system for thermal control and automated data
       collection. He has also conducted research involving low angle X-ray diffraction, thermal
       analysis, and mechanical testing to evaluate both metallic and polymeric components.

       As a consultant with Research Engineers, Inc. (REI) since 1987, Dr. Kasbekar has worked
       in the areas of forensic engineering, materials characterization, product liability, and failure
       analysis. Currently, Dr. Kasbekar serves as President of Visual Sciences, Inc. (VSI) and
       has over 30 years of experience in the application of computer simulation and scientific
       visualization to the field of forensic engineering. This experience includes 3-dimensional
       computer modeling, photogrammetry, computer-aided accident reconstruction, computer
       imaging, finite element analysis and simulation of dynamic systems. Dr. Kasbekar has
       applied his computer expertise to the areas of accident reconstruction, failure analysis, safe
       product design, and human factors studies.

       In addition to his work with VSI and REI, Dr. Kasbekar has served as an Adjunct Assistant
       Professor in the Department of Mechanical Engineering and Materials Science at The Duke
       University School of Engineering since 1995. He has also served on the executive
       committee and as President of the Duke University Engineering Alumni Council. He has
       served on the governing board for the Society of Automotive Engineers as the Vice-Chair
       of Math & Science for the North Carolina Section. Dr. Kasbekar has been the Principal
       Investigator and Research Scientist for multiple research and development contracts that
       have been awarded to Visual Sciences, Inc. by the United States Department of Defense.


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Relevant Experience and Post Graduate Training

      • Failure Analysis of Metals and Plastics
      • Finite Element Modeling and Analysis
      • Accident Reconstruction
      • Photogrammetry
      • Defect and Failure Analysis of Automotive Components
      • Machine Guarding and Safe Product Design
      • Materials Characterization and Testing
      • Computer Simulation and Animation
      • Perceptual Discrepancies in Color Production
      • State-of-the-Art Data Visualization
      • Physically Based Modeling
      • Particle System Modeling
      • Computer Graphics in Visual Effects
      • Procedural Modeling and Rendering Techniques
      • Recent Techniques in Human Modeling, Animation and Rendering
      • Anthropometry and Laser Scanning of Humans
      • UNIX, IRIX, VMS, DOS, Windows, and Macintosh Operating Systems
      • The Effect of Impact and Other Rapid Loading Mechanisms on Plastics
      • Polymer Degradation, Stabilization, and Failure Analysis
      • Plastic Component Failure Analysis
      • Failure Analysis of Plastic and Rubber Materials
      • Environmental Stress Cracking and Other Solvent Effects
      • Properties and Failure Mechanisms of Polycarbonate
      • Preventing Plastic-Product Failures
      • Advance Polymer Testing DEA
      • Polymer Analysis from Raw Material to Formulation
      • 3D Metrology in QA and Reverse Engineering
      • 3D Laser Scanning for Boatbuilding



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Professional Experience

      Principal: Visual Sciences, Inc., Raleigh, NC (1995-Present): Directs all aspects of the
      Computer Visualization Laboratory. Specializing in the application of computer
      visualization and simulation to solve problems in the fields of science and engineering.

      Consultant: Research Engineers, Inc., Raleigh, NC (1987-Present): Works as a forensic
      engineer in the areas of accident reconstruction, failure analysis, safe product design, and
      human factors studies. Developed and directed the Computer Visualization Laboratory
      for Research Engineers.

      Assistant Adjunct Professor: Duke University School of Engineering, Department of
      Mechanical Engineering and Materials Science, Durham, NC (1995): Responsibilities
      included research, teaching, laboratory work, application of computer simulation and
      visualization technology to failure analysis case studies.

      Contract Research Consultant: Battelle Memorial Institute, Columbus, OH (1993):
      Developed computer simulation model to analyze dynamic failure modes of proprietary
      thermal cut-off devices for electrical components.

      System Administrator: Department of Mechanical Engineering and Materials Science,
      Duke University (1986-1987): Hardware and software management for DEC MicroVax
      II, Macintosh and DOS based computers; systems integration; and development of data
      acquisition and analysis programs.

      Engineer: MPR Associates, Washington, D.C. (1986): Developed course in metallurgy
      and failure analysis for engineers; conducted failure analysis and defect analysis of
      metallic components primarily for naval and power generation equipment.

      Research and Teaching Assistant: Department of Mechanical Engineering and Materials
      Science, Duke University (1984-1986). Conducted research in the area of materials
      science, failure analysis, and polymer characterization; laboratory instructor and teaching
      assistant for Failure Analysis and Materials Science classes.

      Engineering Assistant: Federal Emergency Management Testing Facility, Naval Yard,
      Washington, D.C. (1983). Designed, prototyped, fabricated and tested equipment to
      manufacture and evaluate cumulative radiation dosimeters.

      Supervisor: Department of Transportation, Duke University (1982-1986).
      Responsibilities included driver training, supervision, and scheduling of transportation
      personnel; basic fleet maintenance and repair scheduling.




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Professional Societies

       American Society of Mechanical Engineers
       ASM The Materials Information Society
       American Society of Safety Engineers
       Society of Automotive Engineers
       Association for Computing Machinery
       Society of Plastics Engineers
       National Society of Professional Engineers (Past Member)
       National Computer Graphics Association (Past Member)
       The Metallurgy Society (Past Member)
       National Safety Council (Past Member)



Honors

       Dean's List 4 years
       Class Honors 4 years
       Pi Tau Sigma International Mechanical Engineering Honor Society
       Tau Beta Pi Engineering Honor Society
       Graduated Magna Cum Laude
       Graduated with Departmental Distinction
       Research and Teaching Award for Graduate Study
       Awarded Plastics Institute of America Fellowship


Major Research Awards, Seminars, and Publications

       “Modeling Integrated Helmets for Aviation”, Research Contract, US Department of
       Defense, 2003.

       “Pressure Sensing Headforms”, Research Contract, US Department of Defense, 2000.

       “A Dynamic Model for Design Optimization of Protective Masks”, Research Contract,
       US Department of Defense, 1997.

       “High Technology and Construction: Tools for the Millennium
         Forensic Applications of Three-Dimensional Computer Simulation & Visualization.”
                North Carolina Bar Association, Durham, NC 1998 (Invited Speaker).

       “The Use of Computer Simulation and Visualization as a Forensic Engineering Tool”,
       The Americans Inns of Court, Duke University School of Law, Durham, NC 1996
       (Invited Speaker).




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"The Application of 3-dimensional Computer Simulation & Visualization to the Fields of
Accident Reconstruction and Forensic Engineering." Tennessee Defense Lawyers
Association, Nashville, TN, 1995 (Invited Speaker).

"Seeing is Believing: Winning Your Case Through the Use of Computer Simulation."
Stark County Academy of Trial Lawyers Fall Seminar, Akron, OH, 1994 (Invited
Speaker).

"Computer Simulation and Visualization as an Engineering Tool." Joint Meeting of the
North Carolina Chapter of the Society of Automotive Engineers and American Society of
Mechanical Engineers, Raleigh, NC, 1994 (Invited Speaker).

"Fundamentals of 3D Computer Animation." Alliance Training Consortium, Raleigh,
NC, 1993 (Instructor).

"State-of-the-Art in Accident Reconstruction and Computer Aided
Simulation/Animation." West Virginia Trial Lawyers Mid-Winter Seminar, Charleston,
WV, 1991 (Invited Speaker).

"Computer Simulation and Visualization." Panel on Multimedia, MacWorld Exposition,
Boston, MA, 1989 (Invited Speaker).

Kasbekar, A.D. "A Positron Annihilation Lifetime Study of The Effects of Molecular
Weight On Thermal Response and Free Volume Relaxation in Polystyrene." M.S.
Thesis, Duke University Department of Mechanical Engineering and Materials Science,
Durham, NC, 1987.

Kasbekar, A.D., P.J. Jones, and A. Crowson. "Positron Annihilation Lifetime Evaluation
of Thermal Cycling Effects in Atactic Polystyrene." Journal of Polymer Science: Part A:
Polymer Chemistry, 27 (1989): 1373-1382.

Kasbekar, A.D., P.J. Jones, and A. Crowson. "A Positron Annihilation Lifetime Study of
Thermal Response and Isothermal Relaxation in Atactic Polystyrene." 8th International
Conference On Positron Annihilation. Ed. L. Dorikens-Vanpraet, M. Dorikens and D.
Segers. Gent Belgium: World Scientific, 1988.

Kasbekar, A.D. "A Positron Annihilation Lifetime Study of Crosslinked Polystyrenes
and Sequential Polystyrene/Polystyrene Interpenetrating Polymer Networks." Ph.D.
Dissertation, Duke University Department of Mechanical Engineering and Materials
Science, Durham, NC, 1994.




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                                       Testimony of
                                Anand David Kasbekar, Ph.D.

January 13, 2014     Fairlawn               Commonwealth of Virginia In the Circuit Court of the
                     Enterprices, LLC v     City of Roanoke
                     IES Commercial
                     Inc. a Newcomb
                     Electric
February 6, 2014     Bruce v CAV            In the Circuit Court of Cook County, Illinois
                     International, et al
February 11, 2014    Linda Taylor,          In the Circuit Court of Macon County State of Missouri
                     Phillip Taylor and
                     Elizabeth Van Pelt
                     Vs Sportsman’s
                     Outfitters &
                     Marine, Inc.
February 18, 2014    Daniel Dobson, et      In the Circuit Court of the 19th Judicial Circuit, in and
                     al. vs Renee Wade,     for St. Lucie County, Florida
                     et a.
March 11, 2014       Townsend v             North Carolina Industrial Commission
                     NCDOT
May 15, 2014         Dorman vs Atmos        In the Circuit Court of the City of Richmond
                     Energy
July 29, 2014        Miller vs Richard      State of North Carolina County of Mecklenberg
                     Allen Gaddy, Blue
                     Max Trucking, et al
August 21, 2014      Bruno Vono vs          In the Circuit Court of the Seventeenth Judicial Circuit
                     Paul H. Angier and     in and for Broward County, FL
                     John K. Wolfe
August 29, 2014      Dorman vs Atmos        In the Circuit Court of the City of Richmond
                     Energy
September 9, 2014    Townsend v             North Carolina Industrial Commission
                     NCDOT
September 12, 2014   Townsend v             North Carolina Industrial Commission
                     NCDOT
September 25, 2014   Vollman Nicholaus      In the Circuit Court of the Ninth Judicial Circuit, in and
                     vs Middlesex           for Orange County, FL
                     Corporation
October 24, 2014     Bruno Vono vs          In the Circuit Court of the Seventeenth Judicial Circuit
                     Paul H. Angier and     in and for Broward County, FL
                     John K. Wolfe




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October 29, 2014    Bruno Vono vs           In the Circuit Court of the Seventeenth Judicial Circuit
                    Paul H. Angier and      in and for Broward County, FL
                    John K. Wolfe
May 20, 2015        Lois Huffman et al.     In the Court of Common Pleas of Marion County, OH
                    vs City of Marion,
                    OH
June 9, 2015        Debra Jane Pipps,       State of South Carolina Court of Common Pleas County
                    et al vs Robert         of Horry Fifteenth Judicial Circuit
                    O’Neal McCants,
                    et al.

June 15, 2015       Micron                  Virginia - In the Circuit Court for the City of
                    Technology v            Alexandria
                    Safway Services,
                    Inc. and Robert
                    Aquino
August 7, 2015      Kawasaki Motors         In the Circuit Court of Jackson County, Missouri at
                    Manufacturing, et       Independence
                    al. vs ITW Fastex-
                    CVA, et al.
August 21, 2015     The Estate of Peter     In the United States District Court for the District of
                    Paul Faust, et al. vs   Montana Billings Division
                    Strata Corporation,
                    et al.
November 17, 2015   Hickerson vs            United States District Court District of South Carolina
                    Yamaha Motor            Anderson Division
                    Corp., et al.
February 2, 2016    Quentin Ravizza vs      In the United States District Court Northern District of
                    PACCAR, Inc &           Illinois Eastern Division
                    Kenworth Truck,
                    Co.
February 5, 2016    Tracy Sanborn and       United States District Court Southern District of Florida
                    Louis Lucrezia vs
                    Nissan North
                    America, Inc.
February 25, 2016   Lesley Marbeth          In the Court of Common Pleas for the State of South
                    Derrick, deceased       Carolina Dorchester County
                    vs. Berlin G. Myers
                    Lumber Corp., and
                    Daniel Patrick
                    Siebert




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March 3, 2016       H.J. Heinz             In the Circuit Court for Davidson, Tennessee at
                    Company vs.            Nashville
                    Atlantic Aviation
                    FBO Holdings,
                    LLC and Mercury
                    Air Center –
                    Nashville, LLC

                    Global Aerospace,
                    Inc., vs. Atlantic
                    Aviation FBO
                    Holdings, LLC and
                    Mercury Air Center
                    – Nashville, LLC
May 3, 2016         Carolyn Thomson        In the Superior Court of the State of Washington in and
                    and Aaron Hoylk        for the County of Spokane
                    vs. Spokane
                    County, a
                    municipal corp,
                    Spokane County
                    Sheriff’s Dept., and
                    Joseph Bodman
April 26, 2017      Melinda S. Spratt,     In the Superior Court of Cobb County State of Georgia
                    Plaintiff vs. TREK
                    Bicycle
                    Corporation,
                    Defendant
May 17, 2017        Barlow vs The          In the Circuit Court of the Eleventh Judicial Circuit in
                    Cook Group,            and for Miami-Dade County, Florida
                    Galleon Resort at
                    Key West
June 6, 2017        Quentin Ravizza vs     In the United States District Court Northern District of
                    PACCAR, Inc &          Illinois Eastern Division
                    Kenworth Truck,
                    Co.
June 19, 2017       Quentin Ravizza vs     In the United States District Court Northern District of
                    PACCAR, Inc &          Illinois Eastern Division
                    Kenworth Truck,
                    Co.

August 29, 2017     Billy Jo Humphries     In the United States District Court For The Eastern
                    v. JLG Industries,     District of Virginia
                    Inc.
November 20, 2017   Whynot vs Publix       In the Circuit Court of the Ninth Judicial Circuit in and
                                           for Orange County, Florida Division 35
January 25, 2018    Tribble vs             In the United States District Court for the Western
                    Warwood Tool           District of Virginia Lynchburg Division
                    Company
                                                                                          3
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April 27, 2018      Rider vs Kawasaki     In the United States District Court District of Utah,
                    Motors, Corp          Central Division
July 31, 2018       Bennie Wood and       In the Circuit Court of Cook County, Illinois County
                    Linda Wood vs         Department, Law Division
                    Navistar, et al.
November 2, 2018    Laura Frances         In the United States District Court for the Western
                    Hays vs Nissan        District of Missouri Western Division
                    North America
                    Inc., Nissan Motors
                    Company, LTD.
November 13, 2018   Bennie Wood and       In the Circuit Court of Cook County, Illinois County
                    Linda Wood vs         Department, Law Division
                    Navistar, et al.
December 14, 2018   Rider vs Kawasaki     In the United States District Court District of Utah,
                    Motors, Corp          Central Division




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